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8                           UNITED STATES DISTRICT COURT
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             CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
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     LAMONT TARKINGTON,               )          Case No.: 2:18-CV-07636-CJC-JC
12                                    )
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               Plaintiff,             )          [PROPOSED] ORDER RE MOTION
                                      )          TO ENFORCE SETTLEMENT
14
                 vs.                  )          AGREEMENT
15                                    )
     COUNTY OF LOS ANGELES; LOS       )          Date:    July 20, 2020
16
     ANGELES COUNTY SHERIFF’S         )          Time:    1:30 p.m.
17   DEPARTMENT; LOS ANGELES          )          Ctrm.:   7C
18
     COUNTY SHERIFF JIM MCDONNELL; )             Judge:   Hon. Cormac J. Carney
     LAUREN BROWN; JAMES MURREN; )
19   DONALD YOUNG; LAWRENCE           )
20   BEACH ALLEN CHOI PC; and DOES 1- )
     10 INCLUSIVE;                    )
21
                                      )
22             Defendants.            )
23
                                      )

24
                                            ORDER
25
           Plaintiff’s Motion to Enforce Settlement Agreement is GRANTED. Accordingly, it
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     is hereby ORDERED (1) that Defendants shall approve and pay the full settlement amount
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     entered into on December 3, 2019, within 30-days of the service of this Order; (2) that
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                                          ORDER - 1
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1    Defendants will incur interests on any unpaid portion of the settlement amount at 10% per
2    month in the event the full settlement amount is not paid within 30-days of this Order; and
3    (3) that Plaintiff will have the option to rescind the settlement agreement and continue to
4    pursue the civil action against Defendants if the full settlement amount is not paid within
5    30-days of this Order.
6          IT IS SO ORDERED.
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8    Dated:                                 By:
9
                                                  Honorable Cormac J. Carney
                                                  United States District Judge
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